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UNITED STATES DISTRICT COUR’I`
SOUTHERN DISTRICT OF MISSISSIPPI

 

 

 

 

 

 

 

NORTHERN DIVISION
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SECURITIES AND EXCHANGE B" wm

COMMISSION,
Plaintiff,
V- Case No. ?>1 \?C_-VSSQ "© PS” `:K%

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

Defendants,

 

 

CONSENT OF DEFENDANTS
Defendants Arthur Lamar Adams and Madison Timber Properties,
LLC (collectively “Defendants”) acknowledge having been served with the
Complaint in this action, enter a general appearance, and admit the Court’s
jurisdiction over Defendants and over the subject matter of this action.
Defendants hereby consent to the entry of an order in the form
attached hereto (the “Order”) and incorporated by reference herein, which, among

other things:

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(a) enjoins Defendants from violations of Sections l7(a) of the
Securities Act of 1933 (“Securities Act”) [15 U.S.C. §§ 77q(a)] and Section
lO(b) of the Securities Exchange Act of 1934 (“Exchange Act”) [15 U.S.C. §
78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.lOb-5]; and

(b) imposes other equitable relief, including, among other things,

an asset freeze, order to repatriate assets and an order to surrender passport.

Defendants waive the entry of findings of fact and conclusions of law

pursuant to Rule 52 of the Federal Rules of Civil Procedure.

4. Defendants Waive the right, if any, to appeal from the entry of the
Order.

5. Defendants enter into this Consent voluntarily and represent that no
threats, oifers, promises, or inducements of any kind have been made by the
Commission or any member, otflcer, employee, agent, or representative of the
Commission to induce Defendants to enter into this Consent.

6. Defendants agree that this Consent shall be incorporated into the
Order with the same force and effect as if fully set forth therein.

7. Defendants will not oppose the enforcement of the Order on the
ground, if any exists, that it fails to comply with Rule 65(d) of the Federal Rules of

Civil Procedure, and hereby Waives any objection based thereon.

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8. Defendants waive service of the Order and agree that entry of the
Order by the Court and filing with the Clerk of the Court will constitute notice to
Defendants of its terms and conditions. Defendants further agree to provide
counsel for the Commission, within thirty days after the Order is filed with the
Clerk of the Court, with an aHidavit or declaration stating that Defendants have
received and read a copy of the Order.

9. Consistent with 17 C.F.R. 202.5(t), this Consent resolves only certain
of the claims asserted against Defendants in this civil proceeding Other claims
remain to be resolved in this case. Defendants acknowledge that no promise or
representation has been made by the Comrnission or any member, officer,
employee, agent, or representative of the Commission with regard to any criminal
liability that may have arisen or may arise from the facts underlying this action or
immunity from any such criminal liability. Defendants waive any claim of Double
Jeopardy based upon the settlement of this proceeding, including the imposition of
any remedy or civil penalty herein. Defendants further acknowledge that the
Court’s entry of a permanent injunction may have collateral consequences under
federal or state law and the rules and regulations of self-regulatory organizations,
licensing boards, and other regulatory organizations Such collateral consequences
include, but are not limited to, a statutory disqualification With respect to

membership or participation in, or association with a member of, a self-regulatory

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organization. This statutory disqualification has consequences that are separate
from any sanction imposed in an administrative proceeding In addition, in any
disciplinary proceeding before the Commission based on the entry of the injunction
in this action, Defendants understand that they shall not be permitted to contest the
factual allegations of the complaint in this action.

10. Defendants agree that the Commission may present the Order to the
Court for signature and entry without further notice.

11. Defendants agree that this Court shall retain jurisdiction over this

matter for the purpose of resolving remaining claims and enforcing the terms of the

 

Arthur Lamar Adams, individually and on behalf of
Madison Timber, LLC

Approved as to forrn:

    

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